          Case 1:21-cr-00287-TNM Document 149 Filed 03/16/23 Page 1 of 2



                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          :
                                                  :
                v.                                :       Case No. 1:21-cr-00287-TNM
                                                  :
KEVIN SEEFRIED                                    :
                                                  :
                                                  :
                         Defendant.


                           UNITED STATES’ REPLY TO DEFENDANT’S
                              MOTION TO DELAY REPORT DATE

        The United States of America, by and through its attorney, the United States Attorney for the

District of Columbia, hereby respectfully submits this reply to defendant’s Motion to Delay Report Date.

        The defendant, Kevin Seefried (“Seefried”), has moved this Court to issue an Order permitting him

to delay the date by which he must report to the Bureau of Prisons to a date after April 30, 2023, so that he

may attend his grandson’s fourth birthday celebration. After considering the reason set forth in the

defendant’s motion, the government does not oppose the defendant’s request.

                                                  Respectfully submitted,

                                                  MATTHEW M. GRAVES
                                                  United States Attorney

                                         By:      /s/ Brittany L. Reed___________
                                                  BRITTANY L. REED
                                                  Assistant United States Attorney
                                                  LA Bar No. 31299
                                                  650 Poydras Street, Ste. 1600
                                                  New Orleans, LA 70130
                                                  Brittany.Reed2@usdoj.gov
                                                  (504) 680-3031

                                                  /s/ Benet J. Kearney___________
                                                  BENET J. KEARNEY
                                                  Assistant United States Attorney
                                                  NY Bar No. 4774048
                                                  1 Saint Andrew’s Plaza
                                                  New York, New York 10007
                                                  BKearney@usa.doj.gov
                                                  (212) 637-2260
         Case 1:21-cr-00287-TNM Document 149 Filed 03/16/23 Page 2 of 2



                                    CERTIFICATE OF SERVICE

I certify that a true and correct copy of this opposition was sent to counsel for the defendant, Eugene Ohm
and Elizabeth Mullin, on March 16, 2023, via CM/ECF and/or by email.

                                                 /s/ Brittany L. Reed___________
                                                 BRITTANY L. REED
                                                 Assistant United States Attorney




                                                    2
